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                 EXHIBIT B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   No. 1:22-cr-00105-DLC
UNITED STATES OF AMERICA
                                                   Hon. Denise L. Cote
                v.
                                                   DECLARATION OF
JAMES VELISSARIS,                                  JAMES VELISSARIS

                           Defendant.              FILED UNDER SEAL




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                                         DECLARATION

       I, James Velissaris, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that

the following facts are true and correct:


       1.        I am the Defendant named in an Indictment filed in the Southern District of New

York (“SDNY”) – Criminal Case No. 1:22-cr-105-DLC.

       2.        In February 2022, I retained the law firm of Arnold & Porter LLP (“A&P”) to

defend me against the criminal charges filed against me in this case.

       3.        A&P attorneys Veronica Callahan, Kathleen Riley, Paul Fishman and Michael

Krouse were assigned by A&P to serve as my legal counsel. All four of those attorneys entered

their appearances in this case.

       4.        The Indictment in this case charges me with six separate offenses. Count One

charges Securities Fraud, Count Two charges Investment Advisor Fraud, Count Three charges

Wire Fraud, Count Four charges False Statements to an Accountant, Count Five charges

Conspiracy to Obstruct an SEC Investigation, and Count Six charges Obstruction of an SEC

Investigation.

       5.        At arraignment, I entered a plea of Not Guilty to all charges.

       6.        From the beginning of my relationship as a client of A&P and until I was advised

by my lawyers that I should plead guilty, I maintained my innocence.

       7.        Attorneys Veronica Callahan and Kathleen Riley, who both have experience

representing clients in civil securities matters, served as lead counsel on the securities-related

Counts of the Indictment.




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       8.      Attorneys Paul Fishman and Michael Krouse, who both have experience

representing clients in criminal matters, served as my legal counsel in this criminal case. Together

with attorneys Veronica Callahan and Kathleen Riley, the four A&P attorneys provided legal

advice to me in connection with this case.

       9.      As we prepared a defense to the Indictment, the A&P securities lawyers reviewed

the relevant securities laws and the facts of this case, and prepared a defense to the charges

including a recognition that I had in fact made disclosures to investors advising those investors

that “Infinity Q may, on occasion, value Securities… where such exchange, pricing service, quote

or quotes may not provide a reliable indication of fair value, Infinity Q will value such Positions

based on relevant information,” among other similar disclosures.

       10.     Although the securities attorneys (attorneys Callahan and Riley) found that there

were in fact exculpatory disclosures made to investors by Infinity Q, the criminal attorneys

(attorneys Fishman and Krouse) appeared to disagree with the securities attorneys on what, if any,

impact the disclosures had on the remaining Counts of the Indictment.

       11.     As we approached the November 2022 scheduled trial date, the criminal attorneys

appeared to take the lead in final trial preparation. Attorney Michael Krouse was more involved

than Paul Fishman in final trial preparation. As a matter of fact, neither of the criminal attorneys

appeared to be as prepared as the two securities lawyers, including as to the facts of the case, and

there appeared to be some disagreement as to who would be my lead trial lawyer during trial.

       12.     At one point during our final trial preparation, Attorney Callahan told me that she

did not believe the criminal attorneys were as prepared as the securities attorneys, and indicated

she may be the lead attorney during the criminal trial.




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       13.     The statement by my securities lawyer (Attorney Callahan), that she may be my

lead attorney during my criminal trial concerned me, but I agreed with her assessment that the

securities lawyers were better prepared for trial than my criminal attorneys.

       14.     During this same time period in mid-November 2022, just weeks before my

scheduled trial, attorney Michael Krouse began an intense effort to convince me that even though

I believed I was innocent, and the securities lawyers agreed with me that Infinity Q had in

fact made disclosures to its investors, I should plead guilty to securities fraud.

       15.     Attorney Krouse repeatedly told me that I was facing a possible 30 years to life

sentence in Federal prison and that I should plead guilty and try to get a much shorter prison

sentence, maybe as low as 6 years of incarceration.

       16.     Although I still believed that I was innocent, the prospect of a 30 years to life

sentence frightened me. The criminal lawyers convinced me that they could draft a statement of

facts covering my conduct that should be accepted by the Court. I subsequently read that statement

during my plea hearing.

       17.     Because of my mental health diagnoses, including major depression and PTSD, I

have significant difficulty speaking out or asking for help when I feel as though someone is against

me. Because Attorney Krouse continued to push me to accept a guilty plea to avoid a sentence of

30 years to life even though I repeatedly explained that I did not want to plead guilty, I eventually

shut down and began to believe that a guilty plea was my only option.




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       18.     Subsequent to the date I entered my guilty plea, I learned from my A&P trial team

that Attorney Krouse was being considered for an attorney position with the Commodities

Futures Trading Commission, an agency that filed a lawsuit against me in February 2022. That

lawsuit was pending during the period of time Mr. Krouse was advising me that I should

plead guilty to securities fraud. Attorney Michael Krouse continuously represented me from

February 2022 through March 2023.

       19.     I was convinced by the A&P trial team that I should wait until they drafted my

sentencing memorandum, and that after reading their draft sentencing memorandum, I would see

that even though I believe I am innocent, entering a guilty plea was in my best interest.

       20.     On March 4, 2023, just days before my sentencing memorandum had to be filed

with the Court, I received the A&P trial team’s draft sentencing memorandum. That memorandum

contained a number of factually incorrect statements and I immediately retained a new legal

team to review my case and provide legal representation going forward.

       21.     To this day, I maintain my innocence, and I humbly ask this Court to allow me to

withdraw my plea.




                                                     _________________________
                                                     James Velissaris


Dated: April 5, 2023




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